920 F.2d 928Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Duke WOODLEY, Plaintiff-Appellant,v.COMMONWEALTH OF VIRGINIA DEPARTMENT OF CORRECTIONS, Gary G.Wagner, Defendants-Appellees.
    No. 90-6410.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 3, 1990.Decided Dec. 17, 1990.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, Chief District Judge.  (CA-89-496-R)
      Duke Woodley, appellant pro se.
      Jeanette Dian Rogers, Office of the Attorney General, Richmond, Va., for appellees.
      W.D.Va.
      AFFIRMED.
      Before K.K. HALL, MURNAGHAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Duke Woodley appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Woodley v. Virginia Dep't of Corrections, CA-89-496-R (W.D.Va. Sept. 5, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    